                  UNITED STATES DISTRICT COURT FOR
                THE MIDDLE DISTRICT OF NORTH CAROLINA

 STUDENTS FOR FAIR ADMISSIONS,
 INC.,

               Plaintiff,

               v.                              Civil Action No. 1:14-cv-954-LCB-JLW

 THE UNIVERSITY OF NORTH
 CAROLINA AT CHAPEL HILL, et al.,

                        Defendants.


      MOTION TO INTERVENE IN DEFENSE OF THE UNIVERSITY OF
      NORTH CAROLINA AT CHAPEL HILL’S ADMISSIONS POLICY

       Pursuant to Federal Rule of Civil Procedure 24, four current University of North

Carolina at Chapel Hill (“UNC-Chapel Hill”) students and the parents of five high school

students who intend to apply to UNC-Chapel Hill, acting on their children’s behalf

(collectively, the “Proposed Intervenors”), hereby move to intervene. Proposed

Intervenors who currently attend UNC-Chapel Hill are Cecilia Polanco, Luis Acosta, Star

Wingate-Bey, and Laura Ornelas. Proposed Intervenors who are parents of students who

intend to apply to UNC-Chapel Hill are Angie and Kevin Mills on behalf of Q.M.;

Christopher Jackson on behalf of C.J.; Julia Nieves on behalf of I.N.; Tamika Williams

on behalf of A.J.; and Ramonia Jones on behalf of R.J.

       As detailed in the accompanying memorandum, Proposed Intervenors satisfy each

of the requirements for intervention as of right under Fed. R. Civ. P. 24(a). Proposed

Intervenors seek to participate in this case to present the most fulsome defense of, and to




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ensure that a full evidentiary record is created regarding, UNC-Chapel Hill’s

consideration of race and ethnicity as part of its holistic review of applicants’ files. They

seek to ensure that any changes to the admissions process resulting from this litigation,

through court order or settlement, comply with their rights under Title VI of the Civil

Rights Act of 1964 and the Constitution.

       A complete record requires adducing comprehensive evidence related to UNC-

Chapel Hill’s compelling interest in student body diversity. Such evidence includes, for

example, evidence pertaining to the history of discrimination and segregation in North

Carolina and at UNC-Chapel Hill; the past and current state of racial and ethnic relations

on campus; the underrepresentation of students of certain racial and ethnic backgrounds

on campus; and the lack of a critical mass of students of certain racial and ethnic

backgrounds at UNC-Chapel Hill. The existing Defendants do not adequately represent

the Proposed Intervenors’ interests in developing this evidence because UNC-Chapel Hill

may avoid presenting evidence that reflects poorly on UNC-Chapel Hill, critiques the

University’s efforts to promote diversity, or suggests liability for the University under

Title VI. This Motion is being filed in a timely fashion, and there remains time for

Proposed Intervenors to develop this critical factual record within the existing case

schedule.

       If the Court declines to grant Proposed Intervenors intervention as of right,

Proposed Intervenors alternatively request that they be allowed to intervene permissively

under Fed. R. Civ. P. 24(b).



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       Attached to this Motion are (1) a declaration from each Proposed Intervenor

setting forth facts upon which this Motion is based (attached as Exhibit 1); and (2)

pursuant to Fed. R. Civ. P. 24(c), a Proposed Answer (attached as Exhibit 2). A

memorandum in support of this Motion has been filed separately.

       WHEREFORE, Proposed Intervenors respectfully request that this Court grant this

Motion to Intervene.


Dated: June 29, 2015                      Respectfully submitted,

                                          /s/ Reed Colfax
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                                          /s/ Jack Holtzman
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                             /s/ Jon M. Greenbaum
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                             ATTORNEYS FOR PROPOSED
                             DEFENDANT-INTERVENORS

                             * Special Appearance




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                             CERTIFICATE OF SERVICE

       In accordance with Local Rule 5.3(b)(2), I hereby certify that this document filed

through the CM-ECF system on June 29, 2015 will be sent electronically to the registered

participants as identified on the Notice of Electronic Filing.

                                                  /s/ Reed N. Colfax
                                                  Reed N. Colfax




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